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 7
 8                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
     ANDREW T. HILL,                                                  ) Case No. '13CV2728 JM BGS
10                                                                    )
                                                  Plaintiff,          ) COMPLAINT
11           vs.                                                      )
                                                                      )
12   ALLIED INTERSTATE LLC,                                           ) JURY TRIAL DEMANDED
                                                                      )
13                                                Defendant.          )
14
15                                                   INTRODUCTION
16            1.       This is an action for actual damages, statutory damages, attorney fees and
17   costs brought by an individual consumer, Andrew T. Hill, (hereinafter “Hill”) against
18   Allied Interstate LLC (hereinafter “Allied” or “Defendant”) for violations of the Fair
19   Debt Collection Practices Act, (hereinafter “FDCPA”)1 the Rosenthal Fair Debt
20   Collection Practices Act, California Civil Code section 1788 et seq. (hereinafter “the
21   Rosenthal Act”)2 which prohibit debt collectors from engaging in abusive, deceptive and
22   unfair practices and the Telephone Consumer Protection Act, (hereinafter “TCPA”)3
23   which prohibits the making of unconsented to phone calls to cell phones.
24            2.       Hill makes these allegations on information and belief, with the exception
25   of those allegations that pertain to Hill, or to Plaintiff’s counsel, which Hill alleges on
26   personal knowledge.
27
     1
28     All undesignated section references to §1692 are to the FDCPA
     2
       All undesignated section references to section 1788 are to the Rosenthal Act
     3
       All undesignated section references to 47 U.S.C. §277 are to the TCPA
                                                                1
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 1                                JURISDICTION AND VENUE
 2         3.     Jurisdiction arises pursuant to 28 U.S.C. § 1391, 1337, 15 U.S.C. §
 3   1692(k)(d), and 47 U.S.C. § 277 et seq. and 28 U.S.C. § 1367 for supplemental state
 4   claims.
 5         4.     As Defendant does business in the state of California, and committed the
 6   acts that form the basis for this suit in the state of California, this Court has personal
 7   jurisdiction over Defendant for purposes of this action.
 8                                         THE PARTIES
 9         5.     Hill is a natural person residing in San Diego County, California.
10         6.     Hill is a “consumer” within the meaning of § 1692a(3) being a natural
11   person purportedly obligated to pay a “debt” or “consumer debt”, as defined
12   respectively, in § 1692a(5) and Civil Code section 1788.2(f) and purportedly obligated
13   to pay a credit card debt to HSBC, (hereinafter “Debt”).
14         7.     Hill is a “debtor” as Civil Code section 1788.2(h) defines that term.
15         8.     Hill is a “person” as defined by 47 U.S.C. § 153 (39).
16         9.     Defendant is a person and/or business entity who uses instrumentalities of
17   interstate commerce in a business the principal purpose of which is the collection of
18   debts, or who regularly collect or attempt to collect, directly or indirectly, debts owed or
19   due or asserted to be owed or due another and is therefore a debt collector as that phrase
20   is defined by § 1692a(6).
21         10.    Defendant in the ordinary course of business, regularly, on behalf of
22   themselves, or others, engage in debt collection as that term is defined by Civil Code
23   section 1788.2(b), and is therefore a debt collector as that term is defined in Civil Code
24   section 1788.2(c).
25         11.    Defendant Allied is a Minnesota entity with an address of 12755 State
26   Highway 55, Suite 300, Plymouth, MN 55441, and may be served at CT Corporation
27   Systems, 818 West Seventh Street, Los Angeles, CA 90017.
28   ///

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 1                                  FACTUAL ALLEGATIONS
 2            12.   At all times described herein, Defendant conducted a campaign of
 3   telephone collection calls to Hill’s cell number.
 4            13.   Defendant and its agents called Hill’s cell phone number (xxx) xxx-0373
 5   (hereinafter “cell phone”).
 6            14.   Prior to May 17, 2013, Hill allegedly fell behind in the payment allegedly
 7   owed on the alleged debt.
 8            15.   Prior to May 17, 2013, the alleged debt was allegedly assigned, placed or
 9   otherwise transferred to Defendant for collection. Hill denies a valid assignment took
10   place.
11            16.   At all times herein, that Defendant was attempting to collect the alleged
12   debt from Hill, that debt was a debt as defined by § 1692a (5) of the FDCPA.
13            17.   At all times herein, that Defendant was attempting to collect the alleged
14   debt from Hill, that debt was a consumer debt as defined by section 1788.2(f) of the
15   Rosenthal Act. At various and multiple times prior to the filing of the instant complaint,
16   including within one (1) year preceding the filing of this complaint, Defendant contacted
17   Hill in attempts to collect the debt.
18                                            Phone calls
19            18.   Beginning on or about May 17, 2013, and on multiple occasions since that
20   time, up to and including August 28, 2013, Defendant contacted and/or attempted to
21   contact Hill’s cell phone.
22            19.   Hill answered some of these calls.
23            20.   When he did answer some of the calls, there was no one on the line, i.e.,
24   there was silence and there was a pause before a human non-recorded voice came on the
25   line, both of which indicate an autodialer or ATDS was being used.
26            21.   Defendant has constantly and continuously placed collection calls to Hill
27   seeking and demanding payment for the alleged debt with the intent to annoy, abuse
28   and/or harass him.

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 1         22.     These phone calls to the cell phone were communications within the
 2   meaning of § 1692a(2) debt collections as defined in Civil Code section 1788.2(b)
 3         23.     At least one of these phone calls was made to Hill before 8 a.m., Hill’s local
 4   standard time.
 5         24.     Prior to these calls Defendant had sent him correspondence to his home
 6   address in San Diego, California. This action indicates that Defendant had constructive
 7   and actual notice that Hill resided in the Pacific Time zone and not the earlier time zone
 8   of the area code of his cell phone number (Eastern or Atlantic).
 9         25.     By communicating with Hill, as stated above, before 8:00 a.m., a
10   presumptively and actually inconvenient time per § 1692c(a)(1), Defendant violated §
11   1692c(a)(1)
12         26.     By engaging in the foregoing conduct the natural consequence being
13   harassment and oppression of the Hill in connection with the collection of a debt,
14   Defendant violated § 1692d.
15                                              TCPA
16         27.     Defendant placed these calls to Hill’s cellular telephones via an “automatic
17   telephone dialing system,” as defined by 47 U.S.C. § 227(a)(1).
18         28.     During these telephone calls Defendant used “an artificial or prerecorded
19   voice” as prohibited by 47 U.S.C. § 227(b)(1)(A).
20         29.     These telephone calls constituted calls that were not for emergency
21   purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).
22         30.     Hill did not provide “express consent” allowing Defendant to place
23   telephone calls to Hill’s cellular phone utilizing an “artificial or prerecorded voice” or
24   placed by an “automatic telephone dialing system,” within the meaning of 47 U.S.C. §
25   227(b)(1)(A).
26         31.     Under the TCPA and pursuant to the FCC’s January 2008 Declaratory
27   Ruling, the burden is on the Defendant to demonstrate that Hill provided express consent
28   within the meaning of the statute, because it is the best entity to determine how numbers

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 1   were attained.
 2         32.    These telephone calls by Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii).
 3         33.    Defendant’s misconduct in placing these telephone calls to Hill’s cell phone
 4   was negligent and Hill is entitled to an award of $500.00 in statutory damages for each
 5   and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 6         34.    Defendants’ misconduct in placing some or all of these telephone calls to
 7   Hill’s cell phone was willful and knowing and Hill is entitled to an award of $1,500.00
 8   in statutory damages for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
 9         35.    Hill was harmed by the acts of Defendant including but not limited to the
10   following ways:
11                (a) Defendant’s calls to Hill’s cellular phone caused Hill to incur certain
12                    cellular telephone charges or reduce cellular telephone time for which
13                    Hill previously paid,
14                (b) Defendant’s calls to Hill in the early morning while he was still asleep
15                    repeatedly and continuously with the intent to annoy, abuse and/or
16                    harass caused stress, anxiety, loss of sleep and resulting overall
17                    diminished abilities to carry on activities of daily living.
18         36.    As a result of the above violations of the FDCPA and the Rosenthal Act,
19   Hill suffered and continues to suffer from personal humiliation, embarrassment, mental
20   anguish, anxiety, and emotional distress injury and Defendant is liable for Hill’s actual
21   and statutory damages, costs and attorney’s fees.
22         37.    Because Defendant violated certain portions of the FDCPA as specifically
23   set out herein, as these portions are incorporated by reference in Civil Code section
24   1788.17, this conduct or omission also violated the Rosenthal Act.
25                                 FIRST CLAIM FOR RELIEF
26                                   (Violations of the FDCPA)
27         38.    Hill repeats, re-alleges, and incorporates by reference all the allegations
28   contained in the paragraphs above.

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 1          39.     The foregoing acts and omissions constitute numerous and multiple
 2   violations of the FDCPA, including but not limited to each and every one of the above
 3   cited provisions of § 1692 et seq.
 4          40.     As result of each and every violation of the FDCPA, Hill is entitled to any
 5   actual damages pursuant to § 1692k(a)(1); statutory damages in an amount up to
 6   $1,000.00 pursuant to § 1692k(a)(2)(A); reasonable attorney’s fees and costs pursuant to
 7   § 1692k(a)(3) from defendant.
 8                                SECOND CLAIM FOR RELIEF
 9                           (Claim for violations of the Rosenthal Act)
10          41.     Hill repeats, re-alleges, and incorporates by reference all the allegations
11   contained in the paragraphs preceding the First Claim for Relief
12          42.     Defendant’s acts and omissions violated the Rosenthal Act including, but
13   not limited to section 1788.17. Defendant’s violations of section 1788.17 of the
14   Rosenthal Act (which incorporates several of the provisions of the FDCPA) include, but
15   are not limited to those enumerated in the above First Claim for Relief.
16          43.     Hill is entitled to statutory damages of $1000.00 under Civil Code section
17   1788.30(b) for Defendant violations, as enumerated above, of the Rosenthal Act.
18          44.     Defendant’s violations of the Rosenthal Act were willful and knowing,
19   thereby entitling Hill to statutory damages pursuant to section 1788.30(b) of the
20   Rosenthal Act.
21          45.     Defendant’s acts as described above were done intentionally with the
22   purpose of coercing Hill to pay the debt.
23          46.     As a proximate result of the violations by Defendant of the Rosenthal Act
24   as previously stated, Hill is entitled to any actual damages and statutory damages for
25   discrete violations of the Rosenthal Act and also an additional $1,000.00 statutory
26   damages for violation of Civil Code section 1788.17, and attorney’s fees and costs of
27   this action.
28   ///

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 1                                   THIRD CLAIM FOR RELIEF
 2                (Negligent Violations of the Telephone Consumer Protection Act)
 3          47.       Hill incorporates by reference all of the above paragraphs of this Complaint
 4   as though fully stated herein.
 5          48.       The foregoing acts and omissions of Defendant constitute numerous and
 6   multiple negligent violations of the TCPA, including but not limited to each and every
 7   one of the above-cited provisions of 47 U.S.C. § 227 et seq.
 8          49.       As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
 9   Hill is entitled to an award of $500.00 in statutory damages for each and every violation,
10   pursuant to 47 U.S.C. § 227(b)(3)(B).
11          50.       Hill is also entitled to and seeks injunctive relief prohibiting such conduct
12   in the future.
13                                  FOURTH CLAIM FOR RELIEF
14     (Knowing and/or Willful Violations of the Telephone Consumer Protection Act)
15          51.       Hill incorporates by reference all of the above paragraphs before his Third
16   Count for Relief as though fully stated herein.
17          52.       The foregoing acts and omissions of Defendant constitute numerous and
18   multiple knowing and/or willful violations of the TCPA, including but not limited to
19   each and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
20          53.       As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
21   227 et seq., Hill is entitled to an award of $1,500.00 in statutory damages for each and
22   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
23                                       PRAYER FOR RELIEF
24          WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
25   for Plaintiff, and prays for the following relief:
26                    (1)   Assume jurisdiction in this proceeding;
27                    (2)   Declare that the Defendant violated the FDCPA;
28                    (3)   Declare that the Defendant violated the Rosenthal Act;

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 1                (4)    Declare that the Defendant violated the TCPA;
 2                (5)    Award of actual damages, in accordance with proof at trial, pursuant
 3                       to § 1692k(a)(1) of the FDCPA and Civil Code section 1788.30(a) of
 4                       the Rosenthal Act;
 5                (6)    Award of statutory damages of $1,000.00 pursuant to
 6                       §1692k(a)(2)(A) of the FDCPA;
 7                (7)    An award of statutory damages of $1,000.00 pursuant to Civil Code
 8                       section 1788.30(b) of the Rosenthal Act for violation of section
 9                       1788.17 of the Rosenthal Act;
10                (8)    Award of the costs of litigation and reasonable attorney’s fees,
11                       pursuant to § 1692k(a)(3) of the FDCPA and Civil Code section
12                       1788.30(c) of the Rosenthal Act;
13                (9)    Award of statutory damages of $500.00 for each and every negligent
14                       violation of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B);
15                (10) Award of statutory damages of $1,500.00 for each and every
16                       knowing and/or willful violation of the TCPA, pursuant to 47 U.S.C.
17                       § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);
18                (11) Such other and further relief this court may deem just and proper.
19                                       TRIAL BY JURY
20         54.    Pursuant to the seventh amendment to the Constitution of the United States
21   of America, Plaintiff is entitled to, and demands, a trial by jury.
22
23   Dated November 13, 2013                                      Lester & Associates
                                                           By     s/ Patric A. Lester
24                                                                Attorney for Plaintiff,
                                                                  E-mail: pl@lesterlaw.com
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